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                                          U.S. Department of Justice
[Type text]
                                                  United States Attorney
                                                  Southern District of New York

                                                  United States District Courthouse
                                                  300 Quarropas Street
                                                  White Plains, New York 10601


                                                  October 19, 2020
BY AND EMAIL
The Honorable Paul E. Davison
United States Magistrate Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

       Re: United States v. Fred Mastroianni, 20 MJ 8870

Dear Judge Davison:

       The Government respectfully requests that the amended complaint in the above-referenced
case be unsealed as the defendant has now been arrested and presented on the complaint.


                                           Very truly yours,
   SO ORDERED 10/19/20
                                           AUDREY STRAUSS
                                           Acting United States Attorney



                                       by: /s/ Courtney Heavey
                                           Courtney Heavey
                                           Assistant United States Attorney
                                           (914) 993-1927
